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                                         UNITED STATES flISIRICT COURT
                                            DISTRICT OF NEW JERSEY



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                                                   Plaintiff,                      Cñna1*con
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